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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             PADUCAH DIVISION
                           CASE NO. 5:18‐CV‐83‐TBR

VARINA FALKNER-DOSS                                                        PLAINTIFF

V.

M.B.T. TRANSPORT
PAUL WARZOCHA                                                            DEFENDANTS

                     ORDER OF REFERRAL FOR SETTLEMENT


      IT IS ORDERED that pursuant to Title 28, United States Code, Section
636(b)(l)(A), this matter is referred to United States Magistrate Judge Lanny King, for
a settlement conference.




cc:   Counsel
      Magistrate Judge Lanny King                    February 14, 2020


      Case Manager
